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                  UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                          ROME DIVISION


 PUBLIC EMPLOYEES’
 RETIREMENT SYSTEM OF
 MISSISSIPPI, individually and on
 behalf of all others similarly situated,
                                            Civ. A. No. 4:20-cv-00005-VMC
              Plaintiff,

       v.

 MOHAWK INDUSTRIES, INC. and
 JEFFREY S. LORBERBAUM,

              Defendants.

        LEAD PLAINTIFF’S MOTION FOR ISSUANCE OF
LETTER ROGATORY TO THE BELGIAN COURT OF FIRST INSTANCE
         OF ORIENTAL FLANDERS, DIVISION GHENT

      Lead Plaintiff Public Employees’ Retirement System of Mississippi (“Lead

Plaintiff”) moves the Court to issue, under its seal and signature, the attached Letter

Rogatory to the Belgian Court of First Instance of Oriental Flanders, division Ghent.

See Ex. A (“Letter Rogatory”). The Letter Rogatory seeks deposition testimony

from Jan Vergote, an individual residing in Deinze, Belgium. As shown below, the

evidence Lead Plaintiff seeks is highly relevant and—despite Lead Plaintiff’s

efforts—not obtainable by other means.




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                                 BACKGROUND

       This is a securities class action against Mohawk Industries and its Chief

Executive Officer arising from lies that they told investors about the quality of

Mohawk’s Luxury Vinyl Tile (“LVT”) and the reasons for its ballooning inventory.

As demand for LVT soared and captured market share from more traditional flooring

products like carpet, tile, and wood, categories in which Mohawk dominated,

Mohawk scrambled to catch up to competitors who had moved more quickly to enter

the LVT category. Mohawk purchased IVC Group (“IVC”), a Belgian flooring

manufacturer with an LVT manufacturing facility in Dalton, Georgia. Doc. 37 ¶¶62-

65.1 Mr. Vergote was IVC’s Chief Executive Officer.

      Defendants touted the IVC acquisition as a measure that would allow them to

meet the increased demand for LVT and provide Mohawk with a competitive

advantage. Id. But as production in the Dalton facility ramped up, significant

problems arose, with customers across many distribution channels rejecting the

inferior and defective products being produced. Rather than come clean about those

problems, Defendants falsely represented that the venture was going well—telling

the market in its First quarter 2017 earnings call on April 28, 2017, the first day of



1
 All paragraph references are to the Consolidated Class Action Complaint for
Violations of the Federal Securities Laws. Doc. 37.

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the Class Period, that its LVT was “being well accepted across all channels” and that

the Company was “selling” everything its manufacturing “capacity” allowed. Id.

¶¶67, 94. Defendants offered similar false assurances during the third quarter 2017

earnings call, with Lorberbaum telling investors that “Capacity limitations in . . .

LVT . . . constrained our sales” and explained: “With LVT, we increased the capacity

of our LVT through productivity initiatives, so we were selling all of it we could

have.” Id. ¶¶296-97.

      In truth, and unbeknownst to investors, Mohawk’s domestically produced

LVT was riddled with defects and problems, causing the Company to struggle

selling it as customers across several channels returned or refused to accept it.




                          2




2
  When the Court denied Defendants’ Motion to Dismiss the Complaint, it rejected
Defendants’ argument that Defendant Lorberbaum’s statements that Mohawk’s
LVT was “being well accepted across all channels” that Mohawk was “selling all
of” the LVT it “could have” and had “capacity constraints” were corporate puffery
citing allegations that Mohawk experienced a high rate of defects in its LVT products
as well as wide-spread customer complaints and returns. Doc. 60 at 39, 40.

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      Mr. Vergote was one of those executives.




                                                                         .3




3
  For the Court’s convenience, Lead Plaintiff has highlighted relevant language in
documents produced by Defendants and deposition transcript excerpts that are
submitted as exhibits to this Motion.

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      In the second quarter 2018 earnings call on July 26, 2018, Defendants again

repeated the misrepresentation that “our U.S. LVT sales growth was limited by

capacity constraints” while omitting to disclose Mohawk’s struggles to produce first-

quality LVT. Doc. 37 ¶321.




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      In light of Mr. Vergote’s close connection to the material facts of this case,

Lead Plaintiff inquired on September 22, 2022 whether Defendants’ counsel

represented Mr. Vergote in this matter. When they stated that they do not, Lead

Counsel contacted Mr. Vergote by email on October 7, 2022, requesting that he

voluntarily appear for deposition. On October 28, 2022, Mr. Vergote’s counsel at

Dechert LLP responded that he is not willing to voluntarily sit for a deposition. The

instant motion ensued.

              ARGUMENT AND CITATION OF AUTHORITY

I.    This Court has the authority to issue letters rogatory.

      A letter rogatory is a formal written request sent by a United States court to a

foreign court asking that a witness residing within that foreign court’s jurisdiction

either provide documents, a deposition, or both for use in a pending action. Intel

Corp. v. Advanced Micro Devices, Inc., 542 U.S. 241, 247 n.1 (2004) (“A letter


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rogatory is the request by a domestic court to a foreign court to take evidence from

a certain witness.”). Federal courts have authority to issue letters rogatory in civil

cases. See Luzzi v. ATP Tour, Inc., 2010 WL 746493, at *1 (M.D. Fla. Mar. 2, 2010)

(“the court can . . . issue a letter rogatory” to “obtain depositions in a foreign

country”).

      The decision whether to issue letters rogatory lies within the discretion of the

district court. Id. “In considering whether to issue letters rogatory, this Court applies

the liberal discovery principles contained in Rule 26(b).” DHA Corp. v. BRC

Operating Co., 2015 WL 13388248, at *1 (N.D. Ga. May 6, 2015). “When

determining whether to exercise its discretion, a court will generally not weigh the

evidence sought from the discovery request nor will it attempt to predict whether

that evidence will actually be obtained.” Barnes & Noble, Inc. v. LSI Corp., 2013

WL 812331, at *2 (N.D. Cal. Mar. 5, 2013).

      Lead Plaintiff’s use of a letter rogatory is the appropriate and sanctioned

method for obtaining deposition testimony from Mr. Vergote. Where a witness is

located in a nation, like Belgium, that is not a signatory to the Hague Convention on

the Taking of Evidence Abroad in Civil or Commercial Matters, letters rogatory are

particularly appropriate. Avago Techs. Gen. IP PTE Ltd. v. Elan Microelectronics

Corp., 2007 WL 1815472, at *1 (N.D. Cal. June 20, 2007) (“[T]he Taiwanese


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lawyers were residents of a foreign nation that is not a signatory to the Hague

Convention. Therefore, the appropriate method for requiring their appearance is the

letter rogatory.”).

       Letters rogatory are also recognized by Belgian courts. Article 873 of the

Belgian Judicial Code, last amended on 28 November 2021, provides that:

       The Court or the judge to whom a letter rogatory is addressed is obliged
       to execute it.

       However, unless international conventions provide otherwise, the
       execution of letters rogatory issued by foreign judicial authorities may
       only take place after having been authorized by the Minister of Justice
       or his delegate. Prior authorization 3 shall not be required where the
       letter rogatory is executed by the European Public Prosecutor or the
       Deputy European Public Prosecutors designated in accordance with
       Article 309/2.

       The Court of First Instance, the Labour Court or the Business Court
       appointed under the letters rogatory may designate a judge of equal or
       lower degree. (Translation in English).

       Article 874 of the same Code adds: “Letters rogatory are addressed to a Court

or judge of equal or lower degree.” (Translation in English). In this respect, the

Court of First Instance is, in the Belgian legal system, the ordinary court before

which any claim must be filed in the absence of a provision to the contrary (Article

568 of the same Code). It is therefore a Court of equal or lower degree to the District

Court. Belgian case-law recognizes that Belgian courts are bound to execute a letter

rogatory issued in accordance with the aforementioned provisions, provided it has


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been approved by the Belgian Minister of Justice (or his delegate) (see, e.g., Belgian

Supreme Court, Cass., 14 October 1992, Pas., 1992, I, Nr. 665).

II.   Lead Plaintiff has satisfied the standard for the issuance of the letter
      rogatory.

      As noted above, the proper inquiry for issuance of a letter rogatory is whether

the discovery sought complies with Rule 26’s “liberal discovery principles.” DHA

Corp., 2015 WL 13388248, at *1. Rule 26 makes discoverable any information

relevant to any claim or defense of any party, including information “reasonably

calculated to lead to the discovery of admissible evidence,” even if such information

is not itself admissible. Fed. R. Civ. P. 26(b)(1).

      The discovery sought is relevant to the claims and defenses in this litigation,

easily satisfying Rule 26’s liberal standard, for at least two reasons.

      First, as set forth above,




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Second,




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      In sum, Mr. Vergote’s testimony is highly relevant to Lead Plaintiff’s claims.

Among other things, Mr. Vergote is highly likely to have unique information

concerning

                                                            These issues are plainly

central to Lead Plaintiff’s claims in this case.

      Finally, the attached Letter Rogatory should be issued because Lead Plaintiff

is unable to obtain the requested deposition testimony by any other means. As

described above, although Lead Plaintiff attempted to obtain Mr. Vergote’s

testimony by requesting his voluntary participation, Mr. Vergote refused to sit for a

deposition. Because Mr. Vergote resides in Deinze, Belgium, he is beyond the reach

of this Court’s compulsory subpoena power under the Federal Rules. Accordingly,




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Lead Plaintiff must seek issuance of the attached Letter Rogatory in order to obtain

his deposition testimony. See Ex. A.

                                  CONCLUSION

      For the reasons set forth above, Lead Plaintiff respectfully requests this Court

to enter an Order granting this Motion, endorse the attached Letter Rogatory, and

direct the Clerk to place the Court’s seal upon them and return them to Lead Plaintiff

for execution.

Dated: November 11, 2022                   Respectfully submitted,

                                           BERNSTEIN LITOWITZ BERGER
                                            & GROSSMANN LLP

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                  LOCAL RULE 7.1(D) CERTIFICATION

     The undersigned counsel certifies that this document has been prepared in

Times New Roman, 14-point font in compliance with Local Rule 5.1(C).

                                       /s/ Jonathan D. Uslaner
                                       Jonathan D. Uslaner (admitted pro hac
                                       vice)




                           Rule 7.1(D) Certification
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                          CERTIFICATE OF SERVICE

      I hereby certify that on this 11th day of November, 2022, I caused the

foregoing to be filed with the Clerk of Court using CM/ECF system, which will

automatically send e-mail notification of such filing to all attorneys of record.


                                        /s/ Jonathan D. Uslaner
                                        Jonathan D. Uslaner




                                Certificate of Service
